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                             Exhibit 1
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     E-mail: colin.reardon@cfpb.gov
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     Washington, D.C. 20552
5    Fax: (202) 435-5471
6    LEANNE E. HARTMANN (CA Bar #264787) – Local Counsel
     E-mail: leanne.hartmann@cfpb.gov
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8    San Francisco, CA 94105
     Fax: (415) 844-9788
9
     Attorneys for Plaintiff Bureau of Consumer Financial Protection
10
11                     UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF CALIFORNIA
12
13   Bureau of Consumer Financial Protection, )
                                              ) Case No.: 8-20-cv-00043-JVS-ADS
14                    Plaintiff,              )
                                              )
15        vs.                                 )
                                              )
16   Chou Team Realty, LLC et al.,            )
                                              )
17                    Defendants.             )
                                              )
18                                            )
19
20           PLAINTIFF’S SECOND REQUEST FOR PRODUCTION
21               OF DOCUMENTS TO DOCS DONE RIGHT, INC.
22         Pursuant to Federal Rule of Civil Procedure 34, Plaintiff, the Bureau of
23   Consumer Financial Protection (“Bureau”), hereby requests that Defendant
24   Docs Done Right, Inc. (“Defendant” or “you”) respond to the Bureau’s Second
25   Request for Production of Documents (“Request”) within the time period
26   prescribed by the Federal Rules of Civil Procedure, and produce the following
27   documents for inspection within thirty (30) days of service by uploading it to
28
                      PLAINTIFF’S SECOND REQUEST FOR PRODUCTION
                        OF DOCUMENTS TO DOCS DONE RIGHT, INC.
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1    the Bureau’s Extranet or through another means agreed upon with counsel for
2    the Bureau.
3                                    INSTRUCTIONS
4          1.      If in responding to this Request, Defendant encounters any
5    ambiguities when construing a request or definition, the response shall set forth
6    the matter deemed ambiguous and the construction used in responding.
7          2.      If you withhold a document under a claim of privilege (including,
8    but not limited to, the work-product doctrine), you shall provide the information
9    set forth in Fed. R. Civ. P. 26(b)(5).
10         3.      When a document contains both privileged and non-privileged
11   material, the non-privileged material must be disclosed to the fullest extent
12   possible without disclosing the privileged material. If a privilege (or other basis
13   for withholding the information) is asserted with regard to part of the material
14   contained in a document, Defendant must clearly identify the portions as to
15   which the privilege or other basis is claimed. When a document has been
16   redacted or altered in any fashion, provide as to each document the information
17   set forth in Fed. R. Civ. P. 26(b)(5) with respect to the redaction or alteration.
18   Any redaction must be clearly visible on the redacted document.
19         4.      If Defendant objects to the production of any requested
20   document(s) on grounds other than privilege, state with specificity the grounds
21   for objecting to the requested document(s), including the reasons. If responsive
22   materials are being withheld on the basis of any objection, include that
23   information in your response. If, with respect to any document request, there
24   are no responsive documents, state so in writing.
25         5.      Responsive documents shall be produced in the form required in
26   Section B of the attached “Document Submission Standards.”
27
28
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1          6.     Responsive documents shall be uploaded to the Bureau’s Extranet
2    consistent with the instructions in the attached guide “What is the CFPB
3    Extranet?”
4          7.     Unless otherwise specified, the documents called for by this
5    Request are documents in Defendant’s possession, custody, or control that were
6    applicable, effective, prepared, written, generated or sent, dated or received at
7    any time since January 1, 2015.
8          8.     If any material called for by this Request contains sensitive
9    personally identifiable information or sensitive health information of any
10   individual, please contact Bureau counsel before sending this material to
11   discuss ways to protect such information during productions.
12         9.     Pursuant to Fed. R. Civ. P. 26(e), Defendant is under a duty to
13   supplement any response to this Request for which Defendant learns that the
14   response is in some material respect incomplete or incorrect.
15                                     DEFINITIONS
16         Notwithstanding any definition set forth below, each word, term, or
17   phrase used in this Request is intended to have the broadest meaning permitted
18   under the Federal Rules of Civil Procedure. As used in this Request, the
19   following terms shall be interpreted in accordance with these definitions.
20         1.     “Any” includes the word “all,” and “all” includes the word “any.”
21         2.     “Communication” means any written or electronic transmission,
22   regardless of form, from one Person to another Person, including any
23   attachments thereto.
24         3.     “Concerning” means relating to, referring to, discussing,
25   describing, reflecting, containing, analyzing, studying, reporting, commenting,
26   evidencing, constituting, comprising, showing, setting forth, considering,
27   recommending, or pertaining to, in whole or in part.
28
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1          4.        “Debt Relief Service” means any product, service, plan, or
2    program represented, directly or by implication, to renegotiate, settle, or in any
3    way alter the terms of payment or other terms of the debt, including a student
4    loan debt, mortgage loan debt, or credit card debt, between a person and one or
5    more creditors or debt collectors, including, but not limited to, a reduction in
6    the balance, interest rate, or fees owed by a person to a creditor or debt
7    collector.
8          5.        “Docs Done Right” means Docs Done Right, Inc. and Docs Done
9    Right, LP, and their owners, limited partners, officers, employees, agents, and
10   independent contractors.
11         6.        “Document” means the original and any non-identical copy (such
12   as a draft or annotated copy) of any document or electronically stored
13   information to the fullest extent and with the broadest interpretation of those
14   terms under Fed. R. Civ. P. 34(a)(1)(A) and the Local Civil Rules for the
15   Central District of California.
16         7.        “Monster Loans” means Chou Team Realty, LLC f/k/a Chou Team
17   Realty, Inc., d/b/a Monster Loans, d/b/a MonsterLoans, and its owners, officers,
18   directors, members, employees, agents, and independent contractors.
19         8.        “Person” means an individual, partnership, company, corporation,
20   association (incorporated or unincorporated), trust, estate, cooperative
21   organization, governmental or regulatory body, or other entity.
22         9.        “Student Loan Debt Relief Defendants” means the following
23   Persons, and their owners, limited partners, officers, employees, agents, and
24   independent contractors:
25                a. Assure Direct Services, Inc.;
26                b. Assure Direct Services, LP;
27                c. Certified Doc Prep, Inc.;
28
                          PLAINTIFF’S SECOND REQUEST FOR PRODUCTION
                            OF DOCUMENTS TO DOCS DONE RIGHT, INC.
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1               d. Certified Doc Prep Services, LP;
2               e. Docu Prep Center, Inc.;
3               f. Document Preparation Services, LP;
4               g. Direct Document Solutions, Inc.;
5               h. Direct Document Solutions, LP;
6               i. Secure Preparation Services, Inc.; and
7               j. Secure Preparation Services, LP.
8                               DOCUMENT REQUESTS
9          3.      All contracts or agreements between Docs Done Right and any of
10   the Student Loan Debt Relief Defendants.
11         4.      A copy of each unique version of talking points, telemarketing or
12   other scripts, FAQs, or other materials used by the Student Loan Debt Relief
13   Defendants or Docs Done Right to communicate with consumers.
14         5.      All communications concerning talking points, telemarketing or
15   other scripts, FAQs, or other materials used by the Student Loan Debt Relief
16   Defendants or Docs Done Right to communicate with consumers.
17         6.      All training materials provided or made available to any employees
18   or agents of the Student Loan Debt Relief Defendants or Docs Done Right.
19         7.      To the extent not already provided, all documents concerning the
20   Student Loan Debt Relief Defendants’ representations to consumers
21   concerning:
22                 a.    Obtaining lower interest rates on federal student loans;
23                 b.    Obtaining a higher credit score by consolidating federal
24                 student loans;
25                 c.    The effect of consolidating federal student loans on the
26                 identity of the consumer’s servicer; and
27
28
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1                  d.    The U.S. Department of Education acting as the servicer of
2                  federal student loans that have been consolidated.
3            8.    A copy of each unique version of contracts or agreements between
4    consumers and any of the Student Loan Debt Relief Defendants.
5            9.    A copy of each unique version of custodial account agreements
6    between consumers and Debt Pay Gateway, Inc. used in connection with the
7    Student Loan Debt Relief Defendants’ offering or provision of services.
8            10.   A copy of each unique version of all templates used for
9    communications with consumers in connection with the Student Loan Debt
10   Relief Defendants’ offering or provision of services.
11           11.   A copy of each unique version of all other forms or standardized
12   documents used in connection with the Student Loan Debt Relief Defendants’
13   offering or provision of services (e.g., welcome letters, payment schedules).
14           12.   All documents concerning the amount, timing, collection, and
15   disbursement of fees charged by the Student Loan Debt Relief Defendants.
16           13.   All documents concerning Docs Done Right charging or collecting
17   fees on behalf of the Student Loan Debt Relief Defendants or disbursing fees to
18   the Student Loan Debt Relief Defendants.
19           14.   All documents concerning Docs Done Right’s entitlement to and
20   receipt of a portion of the fees charged by the Student Loan Debt Relief
21   Defendants.
22           15.   All documents concerning Debt Pay Gateway charging or
23   collecting fees on behalf of the Student Loan Debt Relief Defendants or
24   disbursing fees to the Student Loan Debt Relief Defendants.
25           16.   All documents concerning the process and procedures used by the
26   Student Loan Debt Relief Defendants for consumers who paid fees by credit
27   card.
28
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1          17.     All documents concerning any complaints from consumers, from
2    state or federal regulators or state attorneys general, or from third parties on
3    behalf of consumers (such as private attorneys, the Better Business Bureau,
4    etc.) concerning the Student Loan Debt Relief Defendants’ services, including
5    any responses and any internal communications or summaries.
6          18.     To the extent not already provided, all documents concerning any
7    requests for refunds from consumers, from state or federal regulators or state
8    attorneys general, or from third parties on behalf of consumers (such as private
9    attorneys, the Better Business Bureau, etc.) concerning the Student Loan Debt
10   Relief Defendants’ services, including any responses and any internal
11   communications or summaries.
12         19.     All non-privileged documents concerning compliance by the
13   Student Loan Debt Relief Defendants and Docs Done Right with the
14   Telemarketing Sales Rule, 16 C.F.R. Part 310, including as it applies to the
15   timing of charging fees by companies engaged in offering or providing Debt
16   Relief Services.
17         20.     All non-privileged documents concerning the making of false or
18   potentially false representations by the Student Loan Debt Relief Defendants in
19   marketing, offering, or providing their services.
20         21.     To the extent not already provided, all communications with the
21   following individuals concerning the Student Loan Debt Relief Defendants:
22               a. Thomas Chou;
23               b. Sean Cowell;
24               c. Kenneth Lawson;
25               d. Jawad Nesheiwat;
26               e. Robert Hoose;
27               f. Frank Anthony Sebreros;
28
                        PLAINTIFF’S SECOND REQUEST FOR PRODUCTION
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1             g. Bilal Abdelfattah a/k/a Belal Abdelfattah a/k/a Bill Abdel;
2             h. Haithum Abdelfattah;
3             i. Erin Mason;
4             j. Aaron Sebreros;
5             k. Mark Nevarez;
6             l. Theresa Wray;
7             m. Max Chou;
8             n. Peter Dao;
9             o. Mohamed Hegazi;
10            p. David Sklar; and
11            q. Mikael Van Loon.
12
13   Dated: June 3, 2020                   Respectfully Submitted,
14
                                           /s/ Colin Reardon
15                                         Colin Reardon (pro hac vice)
                                           E. Vanessa Assae-Bille (pro hac vice)
16                                         Leanne E. Hartmann
                                           Bureau of Consumer Financial Protection
17                                         1700 G Street, NW
                                           Washington, D.C. 20552
18
                                           Attorneys for Plaintiff Bureau of
19                                         Consumer Financial Protection
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                      PLAINTIFF’S SECOND REQUEST FOR PRODUCTION
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1                             CERTIFICATE OF SERVICE
2          I, Colin Reardon, certify pursuant to Local Rule 5-3.2.1 that on this day,
3    June 3, 2020, I caused to be served by e-mail1 this document request on each of
4    the following parties:
5          1.     Jawad Nesheiwat
                    c/o Pete Lepiscopo, counsel for Jawad Nesheiwat
6                 Lepiscopo & Associates
                  695 Town Center Drive, 7th Floor
7                 Costa Mesa, CA 92626
                  E-mail address: plepiscopo@att.net and
8                 pete@familyofficelaw.com
9          2.     Robert Hoose
                    c/o Joshua M. Robbins, counsel for Robert Hoose
10                Greenberg Gross LLP
                  650 Town Center Drive, Suite 1700
11                Costa Mesa, CA 92626
                  E-mail address: JRobbins@GGTrialLaw.com
12
           3.     Kenneth Lawson
13                 c/o William Rothbard, counsel for Kenneth Lawson
                  Law Offices of William I. Rothbard
14                2333 Canyonback Road
                  Los Angeles, California 90049
15                E-mail address: bill@rothbardlaw.com
16         4.     XO Media, LLC
                    c/o William Rothbard, counsel for XO Media, LLC
17                Law Offices of William I. Rothbard
                  2333 Canyonback Road
18                Los Angeles, California 90049
                  E-mail address: bill@rothbardlaw.com
19
20         I further certify, pursuant to Local Rule 5-3.2.1, that on this day, June 3,
21   2020, I caused to be served by Certified Mail, Return Receipt, this document
22   request on each of the following parties:
23         5.     Assure Direct Services, LP
                    c/o David Holt, counsel for David Sklar,
24                Assure Direct Services, LP’s registered
                  agent of service of process
25                The Holt Law Firm
26
     1
      Each of the listed parties have consented in writing to accept service of
27   discovery requests and responses by email. See Fed. R. Civ. P. 5(b)
28
                       PLAINTIFF’S SECOND REQUEST FOR PRODUCTION
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                1432 Edinger Avenue, Ste. 130
1               Tustin, CA 92780
2         6.    David Sklar
                 c/o David Holt, counsel for David Sklar
3               The Holt Law Firm
                1432 Edinger Avenue, Ste. 130
4               Tustin, CA 92780
5         7.    Docs Done Right, Inc.
                 c/o David Holt, counsel for Docs Done Right, Inc.
6               The Holt Law Firm
                1432 Edinger Avenue, Ste. 130
7               Tustin, CA 92780
8         8.    Docs Done Right, LP
                 c/o David Holt, counsel for Docs Done Right, LP
9               The Holt Law Firm
                1432 Edinger Avenue, Ste. 130
10              Tustin, CA 92780
11        9.    Lend Tech Loans, Inc.
                 c/o David Holt, counsel for Lend Tech Loans, Inc.
12              The Holt Law Firm
                1432 Edinger Avenue, Ste. 130
13              Tustin, CA 92780
14        10.   Eduardo Martinez
                 c/o David Holt, counsel for Eduardo Martinez
15              The Holt Law Firm
                1432 Edinger Avenue, Ste. 130
16              Tustin, CA 92780
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 Discovery Requests
 Document Submission
 Standards
 BCFP Office of Enforcement




 1   BUREAU OF CONSUMER FINANCIAL PROTECTION – DOCUMENT SUBMISSION STANDARDS   July 2018
Case 8:20-cv-00043-JVS-ADS Document 136-2 Filed 08/17/20 Page 13 of 28 Page ID
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 Discovery Document Submission Standards
 This describes the technical requirements for producing electronic document collections to the
 Bureau of Consumer Financial Protection (“the Bureau”)’s Office of Enforcement. All documents
 shall be produced in complete form, in color when necessary to interpret the document,
 unredacted unless privileged, and shall not be edited, cut, or expunged. These standards must
 be followed for all documents you submit in response to all discovery requests. Any proposed
 file formats other than those described below must be discussed with the legal and technical
 staff of the Bureau’s Office of Enforcement prior to submission.




 2    BUREAU OF CONSUMER FINANCIAL PROTECTION – DOCUMENT SUBMISSION STANDARDS
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 A. Transmittal Instructions
     1) The written response to a request for production should include the following:
        a) Name of the party making the production and the date of the discovery request to
            which the submission is responsive.
        b) List of each piece of media (hard drive, thumb drive, DVD or CD) included in the
            production (refer to the media by the unique number assigned to it, see ¶ 4)
        c) List of custodians, identifying:
            i) The Bates Range (and any gaps therein) for each custodian,
            ii) Total number of images for each custodian, and
            iii) Total number of native files for each custodian
        d) List of fields in the order in which they are listed in the metadata load file.
        e) The specification(s) or portions thereof of the discovery request to which the
            submission is responsive.
     2) Documents created or stored electronically MUST be produced in their original
        electronic format, not converted to another format such as PDF.
     3) Data may be produced on CD, DVD, USB thumb drive, or hard drive; use the media
        requiring the least number of deliverables.
        a) Magnetic media shall be carefully packed to avoid damage and must be clearly
            marked on the outside of the shipping container:
            i) “MAGNETIC MEDIA – DO NOT USE METAL DETECTOR”
            ii) “MAY BE OPENED FOR POSTAL INSPECTION”
        b) CD-R CD-ROMs should be formatted to ISO 9660 specifications;
        c) DVD-ROMs for Windows-compatible personal computers are acceptable;
        d) USB 2.0 thumb drives for Windows-compatible personal computers are
            acceptable;
        e) USB 3.0 or USB 3.0/eSATA external hard disk drives, formatted in a Microsoft
            Windows-compatible file system (FAT32 or NTFS), uncompressed data are
            acceptable.
     4) Label all media with the following:
        a) Case number
        b) Production date
        c) Bates range
        d) Disk number (1 of X), if applicable
        e) Name of producing party
        f) A unique production number identifying each production
     5) All productions must be produced free of computer viruses.

 4    BUREAU OF CONSUMER FINANCIAL PROTECTION – DOCUMENT SUBMISSION STANDARDS
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     6) All produced media must be encrypted. Encryption format must be agreed upon prior to
        production.
        a) Data deliveries should be encrypted at the disc level.
        b) Decryption keys should be provided separately from the data delivery via email or
            phone.
     7) Passwords for documents, files, and compressed archives should be provided separately
        either via email or in a separate cover letter from the data.




 5    BUREAU OF CONSUMER FINANCIAL PROTECTION – DOCUMENT SUBMISSION STANDARDS
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 B. Delivery Formats
     1) General ESI Standards

        All productions must follow the specifications outlined below:

        De-duplication
        De-duplication of documents should be applied across custodians (global); each
        custodian should be identified in the Custodian field in the metadata load file separated
        by semi-colon. The first name in the Custodian list should represent the original holder
        of the document.

        Bates Numbering Documents
        The Bates number must be a unique, sequential, consistently formatted identifier, i.e.,
        an alpha prefix unique to each producing party along with a fixed length number, i.e.,
        ABC0000001. This format must remain consistent across all productions. There should
        be no space in between the prefix and the number. The number of digits in the numeric
        portion of the format should not change in subsequent productions, nor should hyphens
        or other separators be added or deleted.

        Document Retention / Preservation of Metadata
        The recipient of a discovery request should use reasonable measures to maintain the
        original native source documents in a manner so as to preserve the metadata associated
        with these electronic materials as it existed at the time of the original creation.

     2) Native and Image Production
        In general, and subject to the specific instructions below: (1) produce electronic
        documents in their complete native/original format along with corresponding bates-
        labeled single page TIFF images (with the exception of large spreadsheets and/or text
        files, those files should be processed and a placeholder TIFF image indicating that they
        were produced natively provided); (2) scan and process all paper documents into single
        page TIFF images, OCR the images, and apply bates numbers to each page of the image;
        (3) produce fully searchable document level text for every produced document; and (4)
        produce metadata for every produced document in a data file that conforms to the
        specific instructions below.

        a) Metadata File

 6    BUREAU OF CONSUMER FINANCIAL PROTECTION – DOCUMENT SUBMISSION STANDARDS
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             All produced documents, regardless of their original file format, must be produced
             with the below-described metadata fields in a data file (.DAT).
             i) The first line of the .DAT file must be a header row identifying the field names.
             ii) The .DAT file must use the following default delimiters:

 TABLE 1:   DAT FILE DELIMITERS


                  Comma                       ¶                ASCII character (020)

                  Quote                       þ                ASCII character (254)


                  Newline                     ®                ASCII character (174)




             iii) Date fields should be provided in the format: mm/dd/yyyy
             iv) All attachments should sequentially follow the parent document/email.
             v) All documents shall be produced in both their native/original form and as a
                  corresponding bates-labeled single page TIFF image; provide the link to the
                  original/native document in the NATIVELINK field.
             vi) Produce extracted metadata for each document in the form of a .DAT file, and
                  include these fields (fields should be listed but left blank if not applicable):

 TABLE 2:   DAT FILE FIELDS

     Field Name                        Description
                                      Required Fields
     BATES_BEGIN                  First Bates number of native file document/email
                                  Last Bates number of native file document/email
     BATES_END                    **The BATES_END field should be populated for single
                                  page documents/emails
     ATTACH BEGIN                 First Bates number of attachment/family range
     ATTACH END                   Last Bates number of attachment/family range
                                  Populates parent records with original filenames of all
     ATTACH_NAME
                                  attached records, separated by semi-colons.
     PRIV                         Indicate “YES” if document has a Privilege claim
                                  Indicate Interrogatory number(s) document is
     ROG_NUM                      responsive to. (ROG ##) If multiple, separate by
                                  semi-colon
     DR_NUM                       Indicate Document Request document is responsive to.

 7      BUREAU OF CONSUMER FINANCIAL PROTECTION – DOCUMENT SUBMISSION STANDARDS
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                               (DR ##) If multiple, separate by semi-colon
                               Email: Populate field as “E-Mail”
                               Email Attachment: Populate field as “Attachment
                                                    (E-mail)”
     RECORDTYPE
                               Loose Native: Populate field as “E-Document”
                               Other Attachment: Populate field as “Attachment”
                               Scanned Paper: Populate field as “Paper”
                               Individual(s) or department(s) from which
                               the record originated
     CUSTODIAN
                               **semi-colon should be used to separate multiple
                               entries
                               Email: Filename of loose email or subject of non-loose
     FILENAME                  email
                               Non-email: original file name
     PGCOUNT                   Number of pages in document/email
     MD5HASH                   The 32 digit value representing each unique document
                               Email: Path to email container and email container
     SOURCE                    name
                               Non-email: Original path to source archive folder or files
                               Email: Folder path within email container
     FOLDERPATH
                               Non-email: Folder path to file
     DATE_CREATED              The date the electronic file was created
     TIME_CREATED              The time the electronic file was created
     DATE_MOD                  Date an electronic file was last modified
     TIME_MOD                  Time an electronic file was last modified
     PRINT_DATE                Date the document was last printed
     PRINT_TIME                Time the document was last printed
     FILE_SIZE                 Size of native file document/email in KB
                               The file extension representing the email or
     FILE_EXT
                               native file document
                               Email: (empty)
     AUTHOR
                               Non-email: Author of the document
     SUBJECT                   Subject metadata from electronic files (non-email)
     COMPANY                   Company (organization) metadata from electronic files
                               Hyperlink to the email or native file document
     NATIVELINK                **The linked file must be named per the BATES_BEGIN
                               Number
                               Contains path to OCR/Extracted text file that is titled
     TEXTPATH
                               after the document BATES_BEGIN
                      Additional Fields for Email Productions
     FROM                      Sender of email

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                                  Recipient(s) of email
     TO                           **semi-colon should be used to separate multiple
                                  entries
                                  Carbon copy recipient(s)
     CC                           **semi-colon should be used to separate multiple
                                  entries
                                  Blind carbon copy recipient(s)
     BCC                          **semi-colon should be used to separate multiple
                                  entries
     EMAIL_SUBJECT                “Subject” line of the email
     DATE_SENT                    Date and time that the email message was sent.
     DATE_RECVD                   Date and time that the email message was received.

     TIME_ZONE                    Time Zone processed in

     CONVERSATION_INDEX           Conversation thread ID/Index value
                                  Populated only for email attachments, this field will
     PARENT_ID                    display the Image Tag field value of the attachment
                                  record’s parent.



           b) Document Text
              Searchable text of the entire document must be provided for every record, at the
              document level.
              i) Extracted text must be provided for all documents that originated in electronic
                   format.
                   Note: Any document in which text cannot be extracted must be OCR’d.
              ii) For documents redacted on the basis of any privilege, provide the OCR text for
                   unredacted/unprivileged portions.
              iii) The text should be delivered in the following method: As multi-page ASCII text
                   files with the files named the same as the Bates_Begin field. Text files can be
                   placed in a separate folder or included with the .TIFF files.
           c) Linked Native Files
              Copies of original email and native file documents/attachments must be included for
              all electronic productions.
              i) Native file documents must be named per the BATES_BEGIN number (the
                   original file name should be preserved and produced in the FILENAME metadata
                   field).
              ii) The full path of the native file must be provided in the .DAT file in the

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                NATIVELINK field.
        d) Images
           i) Images should be single-page, Group IV TIFF files, scanned at 300 dpi.
           ii) File names should be titled per endorsed bates number.
           iii) Color should be preserved when necessary to interpret the document.
           iv) Bates numbers should be endorsed on the lower right corner of all images.
           v) For documents partially redacted on the basis of any privilege, ensure the
                redaction box is clearly labeled “REDACTED”.
        e) Image Cross Reference File
           i) The image cross-reference file is needed to link the images to the
                database. It is a comma-delimited file consisting of seven fields per line. There
                must be a line in the cross-reference file for every image in the database.

 TABLE 3:   IMAGE CROSS REFERENCE FILE FIELDS


                Field Title        Description
                 ImageID            The unique designation use to identify an image.
                                    Note: This imageID key must be a unique and fixed length
                                    number. This number will be used in the.DAT file as the ImageID
                                    field that links the database to the images. The format of
                                    this image key must be consistent across all productions. We
                                    recommend that the format be an eight digit number to allow
                                    for the possible increase in the size of a production.
                 VolumeLabel        Optional
                 ImageFilePath      The full path to the image file.
                                    The letter “Y” denotes the first page of a document. If this field
                 DocumentBreak
                                    is blank, then the page is not the first page of a document.
                 FolderBreak        Leave empty
                 BoxBreak           Leave empty
                 PageCount          Optional
                                    *This file should not contain a header row.



               SAMPLE:
               IMG0000001,OPTIONALVOLUMENAME,E:\001\IMG0000001.TIF,Y,,,3
               IMG0000002,OPTIONALVOLUMENAME,E:\001\IMG0000002.TIF,,,,
               IMG0000003,OPTIONALVOLUMENAME,E:\001\IMG0000003.TIF,,,,
               IMG0000004,OPTIONALVOLUMENAME,E:\001\IMG0000003.TIF,Y,,,1
               IMG0000005,OPTIONALVOLUMENAME,E:\001\IMG0000003.TIF,Y,,,2



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               IMG0000006,OPTIONALVOLUMENAME,E:\001\IMG0000003.TIF,,,,


      3) PDF File Production
         When approved, Adobe PDF files may be produced in lieu of TIFF images for scanned
         paper productions (metadata must also be produced in accordance with the instructions
         above):
         a) PDF files should be produced in separate folders named by the Custodian.
         b) All PDFs must be unitized at the document level, i.e. each PDF should represent a
              discrete document; a single PDF cannot contain multiple documents.
         c) All attachments should sequentially follow the parent document.
         d) All PDF files must contain embedded text that includes all discernible words within
              the document, not selected text only. This requires all layers of the PDF to be
              flattened first.
         e) If PDF files are Bates endorsed, the PDF files must be named by the Bates range
         f) The metadata load file listed in 2.a. should be included.
      4) Transactional Data
         If transactional data must be produced, further discussion must be had to ensure the
         intended export is properly composed. If available, a data dictionary should accompany
         the production, if unavailable; a description of fields should accompany transactional
         data productions. The following formats are acceptable:
              •MS Access
              •XML
              •CSV
              •TSV
              •Excel (with prior approval)
      5) Audio/Video/Electronic Phone Records
         a) Audio files must be produced in a format that is playable using Microsoft Windows
             Media Player. Types of audio files that will be accepted include:
             •Nice Systems audio files (.aud). AUD files offer efficient compression and would be
             preferred over both NMF and WAV files.
             •Nice Systems audio files (.nmf).
             •WAV Files
             •MP3, MP4
             •WMA
             •AIF

             Produced audio files must be in a separate folder compared to other data in the

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            production.

            Additionally, the call information (metadata) related to each audio recording must
            be produced if it exists. The metadata file must be produced in delimited text format
            (DAT, CSV, or TXT), using a tab or pipe delimiter. Field names must be included in the
            first row of the metadata file. Please note that the field names are case sensitive and
            should be created as listed below. The metadata must include, if available, the
            following fields:



 TABLE 4:   AUDIO METADATA FIELDS



               Field Name                           Description
                AgentName                            Name of agent/employee
                AgentId                              Unique identifier of agent/employee
                Group                                Name for a collection of agents
                Supervisor                           Name of the Agent’s supervisor
                Site                                 Location of call facility
                DNIS                                 Dialed Number Identification Service,
                                                     identifies the number that was originally
                                                     called
                Extension                            Extension where call was routed
                CallDirection                        Identifies whether the call was inbound,
                                                     outbound, or internal
                CallType                             Purpose of the call
                DURATION                             Duration of call
                CustomerId                           Customer's identification number
                CustomerCity                         Customer's city of residence
                CustomerState                        Customer's state of residence
                CallDateTime                         Date and start time of call (MM/DD/YYYY
                                                     HH:MM:SS)
                CUSTOMERNAME                         Name of person called
                FileName                             Filename of audio file
                BATES_BEGIN                          Unique number of the audio file
                CALLEDPARTYNUMBER                    The call center or phone number called
                CALLSIZE                             File size of audio file
                CALLSERVICE                          Call service code
                MD5HASH                              The 32 digit value representing each unique
                                                     document
                DOC_REQ                              Document request number to which the file is
                                                     responsive
                CUSTODIAN                            Individual(s) or department(s) from which the

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                Field Name                            Description
                                                       recording originated
                 FOLDERPATH                            Folder path of the audio file in the original
                                                       source
                 SOURCE                                Original path to where the source file resided
                 TIMEZONE                              The time zone of the original call
                 GROUPID                               A unique group identifier for grouping multiple
                                                       calls
                 CODEC                                 Encoding/decoding of the audio digital stream
                 BITRATE                               The number of bits that are conveyed or
                                                       processed per unit of time



                Supported Date Format                  Example

                 mm/dd/yyyy hh:mm:ss am/pm               01/25/1996 10:45:15 am


             The filename is used to link the metadata to the produced audio file. The file name
             in the metadata and the file name used to identify the corresponding audio file must
             match exactly.

         b) Video files must be produced in a format that is playable using Microsoft Windows
            Media Player along with any available metadata. If it is known that the video files do
            not contain associated audio, indicate this in the accompanying transmittal letter.
            Types of video files accepted include:
            •MPG
            •AVI
            •WMV
            •MOV
            •FLV


 C. Production of Partially Privileged Documents
      If a portion of any material called for by a discovery request is withheld based on a claim of
      privilege, those portions may be redacted from the responsive material as long as the
      following conditions are met.

         a) If originally stored as native electronic files, the image(s) of the unredacted portions
            are submitted in a way that preserves the same appearance as the original without


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           the redacted material (i.e., in a way that depicts the size and location of the
           redactions). The OCR text will be produced from the redacted image(s). Any
           redacted, privileged material should be clearly labeled to show the redactions on the
           tiff image(s). Any metadata not being withheld for privilege should be produced in
           the DAT file; any content (e.g., PowerPoint speaker notes, Word comments, Excel
           hidden rows, sheets or columns) contained within the native and not being withheld
           for privilege should be tiffed and included in the production.

       b) If originally in hard copy form, the unredacted portions are submitted in a way that
           depicts the size and location of the redactions; for example, if all of the content on a
           particular page is privileged, a blank, sequentially numbered page should be
           included in the production where the responsive material, had it not been
           privileged, would have been located.




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               What is the CFPB Extranet?
The Consumer Financial Protection
Bureau (CFPB) Extranet enables
organizations to securely upload
files and receive a file transfer
receipt.

How does it work?
1. If you would like to send your productions to the
   Bureau via the Extranet, you will need to notify
   the paralegal or other deputy custodian
   assigned to your matter in advance. The
   paralegal will request contact information for any
   individuals in your organization that require
   access to the Extranet. This information is           What else do I need to know?
   needed in order to set up your Extranet
   accounts.                                             Account expiration
2. Once the Extranet Support team sets up the
                                                         Accounts expire 6 months after the creation date
   account, they will send an e-mail with
                                                         per CFPB’s cybersecurity regulations. Accounts
   instructions to activate the account.
                                                         can be re-created quickly by the CFPB’s Paralegal
3. Once activated, files may be uploaded at              or other point of contact.
   https://extranet.cfpb.gov.
4. Choose the folder relevant to your Matter. Files
                                                         Multi-factor authentication
   cannot be uploaded to the root folder.                Extranet access requires the use of a one-time
5. Be sure to choose the correct files to upload.        passcode for each login. Passcodes can be sent
   Once you upload files, you won’t be able to           via e-mail, voice message, or text.
   view, modify, or remove them.
                                                         Upload policies
6. Choose files to upload by selecting the “Upload”
   button or by using drag-and-drop functionality.        Size: Maximum 2 GB per file
7. Uploaded files are transferred to another CFPB         Quantity: There is no limit to how many files can
   server every 20 minutes. After this happens, you       be uploaded simultaneously
   will receive a file transmission receipt e-mail and
   the files will be removed from the Extranet.           File types: A list of prohibited file types is available
                                                          on the ‘CFPB Help’ page (find the link at the top
8. If there is a problem receiving a file, it will be     right of the page)
   noted in the file transmission receipt.

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 Directories: The system does not support
 uploading directories (folders). To upload a
 directory, please compress (or zip) the directory
 and upload the compressed file. Please do not
 encrypt the zip files, as the pipe is already
 encrypted.

Automatic log-out
Your account will be logged out after 10 minutes of
inactivity.

Password policies
   Length: 12 or more characters
   Complexity: must contain a digit, a symbol, an
   uppercase letter and a lowercase letter

Supported browsers
   Microsoft Internet Explorer 8 through 11
   (Compatibility View is not supported)
   Google Chrome 33.x and above

   Apple Safari 5.x and 6.x running on OS X only
   Mozilla Firefox 24.x and above


Having trouble?
Please contact your Deputy Custodian or point of
contact if you have any problems accessing the
system. If necessary, he or she will coordinate
assistance with the CFPB’s technical support team.


Helpful links
Add, edit or remove delivery methods for receiving
one-time passcodes:
https://login.extranet.cfpb.gov/updateprofile


Change your password:
https://login.extranet.cfpb.gov/changepassword




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Login and upload flow
 1 Login screen                               5 File browser
    Enter username and password                  Select file(s) for upload




 2 Login screen                               6 Selected folder
    Enter one-time passcode                      Upload any additional files




 3 Root folder                                7 Wait for files to transfer
    Select folder                                to CFPB internal servers




                                                    Thi s ca n take up to 20 minutes




 4 Selected folder                            8 Transfer receipt
    Select “Upload”                              Review transfer receipt

                                                                            Note: After your files
                                                                            have been transferred
                                                                            to the CFPB’s internal
                                                                            servers, they are no
                                                                            longer viewable on the
                                                                            Extranet website.




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